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                               UNITED STATES DISTRICT COURT

              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                     CASE NO. 3:17-cv-00939-WHA

                 Plaintiff,                     DECLARATION OF JORDAN JAFFE IN
                                                  SUPPORT OF PLAINTIFF WAYMO
        vs.                                     LLC’S ADMINISTRATIVE MOTION TO
                                                  FILE UNDER SEAL ITS
 UBER TECHNOLOGIES, INC.;                       SUPPLEMENTAL BRIEF IN SUPPORT
   OTTOMOTTO LLC; OTTO TRUCKING                   OF WAYMO’S MOTION IN LIMINE 14
 LLC,

                 Defendants.

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                                                                       CASE NO. 3:17-cv-00939-WHA
                                       JAFFE DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2041-1 Filed 10/23/17 Page 2 of 2




 1 I, Jordan Jaffe, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am a partner at the law firm Quinn Emanuel Urquhart & Sullivan, LLP,

 4 counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set forth

 5 in this Declaration, and if called as a witness I would testify competently to those matters.

 6          2.      I make this declaration in support of Waymo’s Administrative Motion to File Under

 7 Seal confidential information in its Supplemental Brief in Support of Waymo’s Motion In Limine 14

 8 and supporting papers (“Waymo’s Administrative Motion”). Waymo’s Administrative Motion seeks

 9 an order sealing the following materials:

10                           Document                       Portions to Be Filed         Designating
                                                                Under Seal                  Party
11           Supplemental Brief in Support of              Highlighted in Blue         Defendants and/or
             Waymo’s Motion In Limine 14                                               Anthony
12
                                                                                       Levandowski
13           Exhibit 1 to the Supplemental Brief           Highlighted in Blue         Defendants
             Exhibit 2 to the Supplemental Brief           Entire Document             Defendants
14           Exhibit 3 to the Supplemental Brief           Entire Document             Defendants and/or
                                                                                       Anthony
15
                                                                                       Levandowski
16           Exhibit 4 to the Supplemental Brief           Entire Document             Defendants and/or
                                                                                       Anthony
17                                                                                     Levandowski
18          3.      Waymo’s Brief and exhibits contain information that Defendants and/or Mr.
19 Levandowski have designated as confidential and/or highly confidential.

20          4.      Waymo takes no position on the merits of sealing Defendants’ designated material, and
21 expects Defendants to file one or more declarations in accordance with the Local Rules.

22          I declare under penalty of perjury under the laws of the State of California that the foregoing is
23 true and correct, and that this declaration was executed in San Francisco, California, on October 23,

24 2017.

25                                                  By /s/ Jordan Jaffe
26                                                     Jordan Jaffe
                                                       Attorneys for WAYMO LLC
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                                                       -2-                   CASE NO. 3:17-cv-00939-WHA
                                             JAFFE DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
